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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff,

V- Case l:19-cr-00018~ABJ

ROGER J. STONE, JR.

Defendant.

NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that Halloran Farkas + Kittila, LLP. (L. Peter Farkas,
Esq. appearing) hereby enters its appearance as permanent counsel of record on
behalf of Defendant ROGER STONE and requests that all pleadings, motions,
notices, correspondence, orders and other filings regarding this case be served on

L. Peter Farkas, Esq. at the below address.

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Respectfully submitted,
_/s/ L. Peter Farkas

L. Peter Farkas

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CERTIFICATE OF SERVICE
l hereby certify that on January 29, 2019, l electronically filed the foregoing
With the Clerk of Court using CMHECF. l also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the
attached service list in the manner specified, either via transmission of Notices of
Electronic Filing generated by CM/ECF or in some other authorized manner for
those counsel or parties Who are not authorized to receive electronically Notice of

Electronic filing.

BY: /s/ L. Peter Farkas
L. Peter Farkas

 

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